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                                               UNITED STATES and FEDERAL
 16                                            AVIATION ADMINISTRATION
 17                              UNITED STATES DISTRICT COURT
 18                            CENTRAL DISTRICT OF CALIFORNIA
 19    BARRY ROSEN, Individually and as a      Case No.      2:17-cv-07727 PSG(JEMx)
       Private Attorney General,
 20                                            STIPULATION TO EXTEND
              Petitioner and Plaintiff,        DEFENDANTS’ DEADLINE TO
 21                                            RESPOND TO SECOND AMENDED
              v.                               PETITION
 22
       UNITED STATES GOVERNMENT,
 23    FEDERAL AVIATION
       ADMINISTRATION, AND CITY OF             Judge: Honorable Philip S. Gutierrez
 24    SANTA MONICA,
 25           Respondents and Defendants.
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                                                          Stipulation to Extend Defendants’ Deadline
       Case No. 2:17-cv-07727 PSG(JEMx)
                                                             to Respond to Second Amended Petition
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  1           Pursuant to Local Rules 7-3 and 15-1, Plaintiff Barry Rosen (“Plaintiff”), on
  2    the one hand, and Defendants City of Santa Monica (the “City”), the United States,
  3    and the Federal Aviation Administration (the “FAA”) (collectively, the
  4    “Defendants”), on the other hand, hereby stipulate as follows:
  5                1. On October 23, 2017, Plaintiff filed his (Verified) Petition for Writ of
  6    Mandate and Complaint for Declaratory and Injunctive Relief (the “Petition”) (ECF
  7    No. 1);
  8                2. On November 9, 2017, the Court granted the City’s Ex Parte
  9    Application for Extension of Time to Respond to Petition (ECF No. 20), and
 10    ordered that:
 11                    a) The City would have until January 15, 2018, to respond to the
 12                       Petition, including by motion or otherwise;
 13                    b) Plaintiff would have until January 22, 2018, to file any opposition
 14                       to the City’s motion to dismiss;
 15                    c) The City would have until January 29, 2018, to file any reply; and
 16                    d) The hearing on the City’s motion to dismiss would take place on
 17                       February 12, 2018;
 18                3. On November 15, 2017, Plaintiff filed his (Verified) First Amended
 19    Petition for Writ of Mandate and Complaint for Declaratory and Injunctive Relief
 20    (the “First Amended Petition”) (ECF No. 28);
 21                4. On December 21, 2017, the Court granted the United States’ and the
 22    FAA’s Ex Parte Application for Extension of Time to Respond to Amended
 23    Petition, and ordered the United States and the FAA to respond to the Amended
 24    Petition no later than February 9, 2018 (ECF No. 39);
 25                5. On January 12, 2018, the parties stipulated to extend Defendants’
 26    deadline to file their responses to Plaintiff’s First Amended Petition until February
 27    12, 2018, and the parties stipulated that Plaintiff would file a Second Amended
 28    Petition by January 29, 2018 (ECF No. 40).
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  1                6. On January 12, 2018, the court granted the parties’ stipulation and
  2    ordered that Defendants’ deadline to file their responses to Plaintiff’s First
  3    Amended Petition extended until February 12, 2018, and that Plaintiff must file a
  4    Second Amended Petition by January 29, 2018 (ECF No. 41);
  5                7. On January 29, 2018, Plaintiff filed a Second Amended Complaint;
  6                8. Pursuant to Local Rule 7-3 and this Court’s Civil Standing Order
  7    paragraph 6(a), the parties engaged in the required meet and confer discussions in
  8    advance of the Defendants’ respective February 12, 2018, deadline to file its Rule
  9    12 motion to dismiss the Second Amended Petition;
 10                9. Plaintiff notified Defendants after filing his Second Amended Petition
 11    that he has retained counsel to represent him in this matter, and that his counsel will
 12    be filing a notice of appearance in due course.
 13                10.This Court’s Standing Order requires Plaintiff to “carefully evaluate
 14    defendant’s contentions as to the deficiencies in the complaint,” and states that “[i]n
 15    most instances the moving party should agree to any amendment that would cure
 16    the defect,” (Standing Order ¶ 6(a));
 17                11. As a result of the parties’ L.R. 7-3 discussions, Plaintiff and his new
 18    counsel have elected to amend the Second Amended Petition and file a third
 19    amended petition (the “Third Amended Petition”), and because Plaintiff has
 20    retained counsel, he requests additional time to prepare the Third Amended
 21    Petition;
 22                12. Defendants have agreed to Plaintiff filing the Third Amended Petition
 23    without waiving any defenses they may have to the Third Amended Petition;
 24                13.The parties agree that Defendants’ deadline to file responses to
 25    Plaintiff’s Second Amended Petition shall be extended to March 23, 2018;
 26                14. The parties agree that they shall file a stipulation to amend Plaintiff’s
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                                                                Stipulation to Extend Defendants’ Deadline
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  1    Second Amended Petition by March 19, 2018, in compliance with L.R. 15-1; 1
  2                15. The parties agree that Plaintiff shall file his Third Amended Petition
  3    by March 19, 2018;
  4                16. The parties agree that Defendants shall file their respective responses
  5    to Plaintiff’s Third Amended Petition by April 23, 2018;
  6                17. The requested extension is sought in good faith and is not made to
  7    cause delay or for any improper purpose;
  8
  9    THEREFORE, IT IS HEREBY AGREED AND STIPULATED, subject to the
 10    Court’s approval, that:
 11           1.      Defendants’ deadline to file their responses to Plaintiff’s Second
 12    Amended Petition is extended to and including March 23, 2018;
 13           2.      The Parties shall file a stipulation to amend Plaintiff’s Second
 14    Amended Petition by March 19, 2018, in compliance with L.R. 15-1;
 15           3.      Plaintiff shall file his Third Amended Petition by March 19, 2018;
 16           4.      Defendants shall file their respective responses to Plaintiff’s Third
 17    Amended Petition by April 23, 2018.
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 26             L.R. 15-1 requires a complete draft of the proposed amended pleading to be
       filed as an attachment to the related stipulation among the parties agreeing to the
 27    amendment.
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                                                               Stipulation to Extend Defendants’ Deadline
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  1                                       ECF ATTESTATION
  2           I, Brian L. Hazen, am the ECF user whose ID and password are being used to
  3    file this STIPULATION TO EXTEND DEFENDANTS’ DEADLINE TO
  4    RESPOND TO SECOND AMENDED PETITION. In accordance with Civil Local
  5    Rule 5-4.3.4, concurrence in and authorization of the filing of this document has
  6    been obtained from Barry Rosen, Plaintiff in Pro Per, and Gary D. Feldon, counsel
  7    for Defendants United States and Federal Aviation Administration, and I shall
  8    maintain records to support this concurrence for subsequent production for the
  9    Court if so ordered or for inspection upon request by a party.
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 11    Dated: February 9, 2018                 MORRISON & FOERSTER LLP
 12
 13                                            By: /s/ Brian L. Hazen
                                                     Brian L. Hazen
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                                                             Stipulation to Extend Defendants’ Deadline
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